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                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                         DOC#:
SOUTHERN DISTRICT OF NEW YORK
                                         DATEFILED: 01/26/2016
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UNITED STATES OF AMERICA
                                                  NOLLE PROSEQUI
            - v.-
                                                  14 Cr. 006 (NRB)
FRANKLIN RAMOS SANCHEZ,

                               Defendant.

------------------------------X

               1.      The filing of this nolle prosequi will dispose of the charges filed against

defendant Franklin Ramos Sanchez in this case.

               2.      On January 7, 2014, Sanchez was charged in Indictment 14 Cr. 006, as well

as Superseding Indictment S2 14 Cr. 006, with participating in a conspiracy to import cocaine, in

violation ofTitle 21, United States Code, Section 963. The Indictment and the S2 Superseding

Indictment were initially filed under seal, and they were unsealed by order of the Court on

February 4, 2015.

               3.      On March 10,2014, Sanchez was charged in Superseding Indictment S3 14

Cr. 006 with: (i) participating in a conspiracy to import cocaine, in violation of Title 21, United

States Code, Section 963; and (ii) participating in a conspiracy to use and carry machineguns

during and in relation to a drug-trafficking crime, in violation of Title 18, United States Code,

Section 924( o). The S3 Superseding Indictment was filed under seal, and it was unsealed by

order of the Court on February 4, 2015.

               4.      On March 16, 2015, the Government was notified by the Bureau of Prisons

that defendant Franklin Ramos Sanchez died on March 15, 2015, while he was in custody in

connection with this case.
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               5.     In light of the foregoing, I recommend that an order of nolle prosequi be

filed as to defendant Franklin Ramos Sanchez with respect to Indictment 14 Cr. 006 (NRB),

Superseding Indictment S2 14 Cr. 006 (NRB), and Superseding Indictment S3 14 Cr. 006 (NRB).




                                            Emil J. Bove III
                                            Assistant United States Attorney
                                            (212) 637-2444


Dated: New York, New York
       January .a/, 2016

               Upon the foregoing recommendation, I hereby direct, with leave of the Court, that

an order of nolle prosequi be filed as to defendant Franklin Ramos Sanchez, with respect to

Indictment 14 Cr. 006 (NRB), Superseding Indictment S2 14 Cr. 006 (NRB), and Superseding

Indictment S3 14 Cr. 006 (NRB).


                                            PREET BI- RARf\;1 G-l:t L
                                            United States Attorney
                                            Southern District ofNew York


Dated: New York, New York
       January d/, 2016




SO ORDERED:
                                             L<i2~·~:J
                                             HONORABLE NAOMI REICE BUCHWALD
                                             United States District Judge
                                             Southern District ofNew York


Dated: New York,    ~~York
    --::Ji;, '"'?'"~ 2016

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